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                                      EXHIBIT 5
                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


INNOVATION LAW LAB,

               Plaintiff,
   v.                                                         Civ. No. 2:22-cv-00443-SMV-KRS
                                                                       __________________

U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT,

               Defendant.

                               DECLARATION OF REBECCA SHEFF

        I, Rebecca Sheff, declare as follows:

        1.     I am a senior staff attorney with the American Civil Liberties Union of New

Mexico. I have personal knowledge of all facts stated in this declaration.

        2.     Exhibit 2 is a report that I personally viewed and downloaded from the

Department of Homeland Security Office of Inspector General website on or about June 10,

2022. The report is located at the following URL:

https://www.oig.dhs.gov/sites/default/files/assets/2022-05/OIG-22-31-Mar22-mgmtalert.pdf.

This printout is a fair and accurate copy of the content as it existed on June 10, 2022. This

website is a government website run and operated by the Department of Homeland Security

Office of Inspector General.

        3.     Exhibit 3 is a report that I personally viewed and downloaded from the U.S.

Immigration and Customs Enforcement website on or about June 10, 2022. The report is located

at the following URL: https://www.ice.gov/doclib/facilityInspections/torranceCoDetFac_CL_03-

31-2022.pdf. This printout is a fair and accurate copy of the content as it existed on June 10,




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2022. This website is a government website run and operated by U.S. Immigration and Customs

Enforcement.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

       EXECUTED this 12th day of June, 2022 in Santa Fe, New Mexico.



                                                      ___________________
                                                      Rebecca Sheff
                                                      New Mexico Bar No. 159065
                                                      ACLU OF NEW MEXICO
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